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                         IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT COURT OF FLORIDA
                                     IN ADMIRALTY

                                   CASE NO. _________________

   ADAM STOCKHOLM,

           Plaintiff,
   vs.

   M/Y SUR LA MER f/k/a M/Y HOM, her engines,
   tackle, rigging, dinghies, equipment, furniture,
   tenders and appurtenances, etc., in rem,

           Defendant.
                                                  /

           SEAMAN’S VERIFIED COMPLAINT IN REM TO ENFORCE
    MARITIME LIEN FOR UNSEAWORTHINESS AND MAINTENANCE AND CURE

         COMES NOW Plaintiff, ADAM STOCKHOLM, by and through his undersigned counsel,

  and pursuant to Supplemental Rule C, hereby files this Verified Complaint and sues the M/Y SUR

  LA MER, f/k/a M/Y HOM, a 2011, 44-meter Motor Yacht built by Benetti, SpA, IMO number

  9611761, her engines, tackle, rigging, dinghies, tenders, equipment, furniture, appurtenances, etc.,

  in rem, and states as follows:

                                   GENERAL ALLEGATIONS

         1.      This in rem action is brought under the General Maritime Law and the Federal

  Maritime Lien Act, including under the 46 U.S.C. § 31301, et seq., and 46 U.S.C. § 31342, to

  foreclose a maritime lien in favor of Plaintiff and encumbering the vessel M/Y SUR LA MER f/k/a

  M/Y HOM (hereinafter “M/Y SUR LA MER” and/or “M/Y HOM”).

         2.      This case involves a personal injury and negligence claim arising under the General

  Maritime Law of the United States and is thus within this Court’s Admiralty and Maritime

  jurisdiction within the meaning of U.S. Const. Art. III § 2, 28 U.S.C. §1333, Fed. R. Civ. P. Rule



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  9(h), Supplemental Rule C and Local Admiralty Rule C. Plaintiff also asserts a preferred maritime

  lien pursuant to 46 U.S.C. § 31301(5)(B).

          3.      The Plaintiff was employed as a crew member aboard the M/Y HOM, and at all

  material times was a Jones Act seaman pursuant to 28 U.S.C. § 1916 and 46 U.S.C. § 30104, et

  seq. Being a seaman pursuant to 28 U.S.C. § 1916, the Plaintiff is not required to give security for

  costs upon the filing of this action.

          4.      “A vessel is an entity apart from its owner that is liable ... for torts....” Minott v.

  M/Y BRUNELLO, 891 F.3d 1277, 1284 (11th Cir. 2018) (citing Merchants Nat'l Bank of Mobile

  v. Dredge Gen. G. L. Gillespie, 663 F.2d 1338, 1345 (5th Cir. Unit A Dec. 1981)). Moreover, “a

  maritime tort gives the victim a lien against the vessel by operation of the general maritime law....”

  Id. (citing Thomas J. Schoenbaum, Admiralty & Maritime Law § 9-1 (5th ed. 2017)). The lien is

  created “as soon as the claim comes into being....” Id. (citing The John G. Stevens, 170 U.S. 113,

  117 (1898)). Finally, “[f]ederal district courts obtain in rem jurisdiction over a vessel when a

  maritime lien attaches to it....” Id. (citing Crimson Yachts v. Betty Lyn II Motor Yacht, 603 F.3d

  864, 868 (11th Cir. 2010)). This process is controlled by Supplemental Rule C, which provides

  that “an action in rem may be brought to enforce any maritime lien....” Id. (citing Fed. R. Civ. P.

  Supp. R. C(1)).

          5.      Maritime liens, when owed to seamen as a consequence of their service, “are

  ‘sacred liens’ entitled to protection ‘as long as a plank of the ship remains.’” Isbrandtsen Marine

  Services, Inc. v. M/V Inagua Tania, 93 F.3d 728, 733 (11th Cir. 1996) (quoting The John G.

  Stevens, 170 U.S. 113, 119, 18 S.Ct. 544, 42 L.Ed. 969 (1898); United States v. ZP Chandon, 889

  F.2d 233, 238 (9th Cir. 1989) (same). Liens for maintenance and cure are given a similarly high

  priority. See Fredelos v. Merritt–Chapman & Scott Corp., 447 F.2d 435, 440 (5th Cir. 1971) (per




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  curiam on rehearing) (“[T]he shipowner's liability [for maintenance and cure] is among ‘the most

  pervasive’ of all.” (quoting Aguilar v. Standard Oil Co. of N.J., 318 U.S. 724, 730, 63 S.Ct. 930,

  87 L.Ed. 1107 (1943)) ). In both instances seaman's lien is favored over all others because “just as

  a seaman owes his first duty to his ship, so does she owe the same to him.” Id. at 439.

           6.    Maritime liens differ from other common law liens in that a maritime lien is “not

  simply a security device to be foreclosed if the owner defaults;” rather, a maritime lien converts

  the vessel itself into the obligor and allows an injured party to proceed directly against it through

  an in rem proceeding. Crimson Yachts v. Betty Lyn II Motor Yacht, 603 F.3d 864, 868 (11th Cir.

  2010).

           7.    At all times material hereto, Plaintiff, ADAM STOCKHOLM (hereinafter

  “STOCKHOLM”), was and is a resident of Broward County, Florida and was and is sui juris.

           8.    That at all times material hereto, STOCKHOLM was hired and worked as a Jones

  Act seaman, crew member and/or business invitee on, and served as a seaman and crewmember

  on board the vessel M/Y HOM.

           9.    STOCKHOLM hereby asserts a maritime lien against the Defendant vessel, the

  M/Y SUR LA MER, f/k/a M/Y HOM, in rem, pursuant to Rule C, Supplemental Rules for Certain

  Admiralty and Maritime Claims, by reason of the unseaworthy condition of the vessel, the

  Plaintiff’s entitlement to maintenance and cure benefits, and damages resulting from the failure to

  promptly provide said benefits. Solet v. M/V Captain Dufrene, 303 F. Supp. 980 (E.D. La. 1969),

  Fredelos, 447 F.2d at 440.

           10.   The in rem Defendant, M/Y SUR LA MER, is a 2011 Benetti 44-meter motor yacht,

  IMO number 9611761, and is or will be during the pendency of process herein, within the Southern




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  District of Florida and within the jurisdiction of this Court. The vessel was renamed M/Y SUR LA

  MER” from “M/Y HOM” after its former owners sold it.

         11.     The M/Y SUR LA MER is now owned by a company apparently registered in the

  Cayman Islands. However, the ownership of the vessel has not been found in any publicly available

  United States’ databases and therefore is unknown at this time.

         12.     Upon information and belief, the vessel M/Y SUR LA MER is home ported in Palm

  Beach County, Florida and is regularly conducting its business in the Southern District of Florida.

         13.     A maritime lien is a privileged claim upon maritime property, such as a vessel. “The

  lien attaches simultaneously with the cause of action and adheres to the maritime property even

  through changes of ownership until it is executed through the in rem legal process available or is

  somehow extinguished by operation of law. A maritime lien is thus a proprietary interest in a res

  that is independent of possession and is not extinguished by transfer of ownership even to a good

  faith purchaser.” Thomas J. Schoenbaum, 1 Admiralty and Maritime Law § 9–1 (4th ed.2004);

  See Equilease Corporation v. M/V Sampson, 793 F.2d 598, 602 (5th Cir.1986), cert. den., 479

  U.S. 984, 107 S.Ct. 570, 93 L.Ed.2d 575 (1986) (A maritime lien travels with the ship and is not

  affected by changes in ownership.).

         14.     Venue is proper in this forum as a substantial part of the events or omissions giving

  rise to the claim, including acts of unseaworthiness and failure to provide maintenance and cure

  arose and/or occurred in Palm Beach County located in the Southern District of Florida, and the

  M/Y SUR LA MER is or will be during the pendency of process herein, within the Southern

  District of Florida. See 28 U.S.C. § 1391.

         15.     At all times material hereto, the Plaintiff, ADAM STOCKHOLM, was employed

  by and served as a seaman and crewmember onboard the Defendant vessel, the M/Y HOM.




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          16.    On or about July 1, 2021, Plaintiff was working as a seaman onboard the M/Y

  HOM, when he suffered severe personal injuries, including an injury to his neck, after being

  ordered to move heavy dehumidifiers from the M/Y HOM’s aft deck down to a tender during the

  course of his duties.

          17.    STOCKHOLM immediately reported his injuries, including his neck injury, but he

  was kept onboard the vessel for and extended period of time and given no medical care. He was

  unable to receive medical treatment until he disembarked the vessel on his own accord.

          18.    STOCKHOLM asked his employer and the vessel owner through its agents to

  provide him medical care and support for his injuries. Said requests were denied and he was

  informed he was discharged.

          19.    As a result of his injuries arising on the M/Y HOM, Plaintiff suffered severe and

  permanent damages, including a herniated cervical disc leading to a neck fusion on January 17,

  2024.

          20.    Plaintiff sought medical care and benefits from his employer and the M/Y HOM,

  but was denied any benefits whatsoever.

          21.    The employer’s denial of Plaintiff’s maintenance and cure benefits was capricious

  and arbitrary as Plaintiff’s employers and the M/Y HOM have failed to investigate Plaintiff’s

  claims for medical care.

          22.    A seaman who is injured or becomes ill while in the employ of a vessel is entitled

  to receive maintenance and cure from his employer until he reaches the point of maximum medical

  cure or when a doctor diagnoses the particular injury as a permanent one. Vella v. Ford Motor Co.,

  421 U.S. 1, 95 S. Ct. 1381, 1384 (1975); Vaughan v. Atkinson, 369 U.S. 527, 531, 83 S. Ct. 997,

  8 L.Ed.2d 88 (1962); Langmead v. Admiral Cruises, Inc., 610 So.2d 565, 567 (Fla. 3d. DCA 1992).




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         23.     Plaintiff STOCKHOLM has not been declared to have reached maximum medical

  improvement (“MMI”) by his treating physicians.

         24.     Competing maritime lien claims are first ranked according to class. The classes are,

  from highest priority to lowest, the following:

                 (1) Expenses of justice during custodia legis—expenses arising from the care and
                 operation of the ship while it is in the custody of the Court through the U.S. Marshal
                 (not regarded as a lien, but given priority); (2) Seamen's liens (including those of
                 the Master) for wages, maintenance and cure; and wages of longshoremen directly
                 employed by the vessel; (3) Salvage and general average liens; (4) Tort liens,
                 including personal injuries; (5) Preferred ship mortgage liens (U.S. flag vessels);
                 (6) Liens for necessaries under the Maritime Lien Act of 1920; (7) State-created
                 liens of maritime nature; (8) Maritime liens for penalties and forfeiture for violation
                 of Federal Statutes; (9) Perfected non-maritime liens, including tax liens; (10)
                 Attachment liens in causes of action within the admiralty and maritime jurisdiction
                 (foreign attachment); (11) Maritime liens in bankruptcy.

  United States v. One (1) 254 Ft. Freighter, the M/V Andoria, 570 F. Supp. 413, 415 (E.D. La.

  1983); see also 46 U.S.C. § 31326 (“[T]he preferred mortgage lien ... has priority over all claims

  against the vessel (except for expenses and fees allowed by the court, costs imposed by the court,

  and preferred maritime liens)[.]”). Claimant’s lien is of the highest priority.

                   COUNT I – IN REM ACTION FOR MAINTENANCE AND CURE

         Plaintiff realleges paragraphs 1 through 24 as if stated herein in extenso and further alleges:

         25.     Under the General Maritime Law and by operation of federal law, Plaintiff

  STOCKHOLM, as a seaman, is entitled to recover maintenance and cure from the vessel M/Y

  HOM, until he is declared to have reached maximum possible cure. This includes unearned wages

  (regular wages, overtime, vacation pay and tips), which are reasonably anticipated to the end of

  the contract or voyage, whichever is longer.




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         26.     The M/Y HOM’s breach of duty to provide Plaintiff with breach of duty to provide

  Plaintiff with maintenance and cure is unreasonable, willful and wanton, and in callous disregard

  for Plaintiff’s rights under the General Maritime Law.

         27.     Further, M/Y HOM unreasonably failed to pay or provide Plaintiff with

  maintenance and cure, which aggravated his condition and caused Plaintiff to suffer additional

  compensatory damages, including but not limited to the aggravation of Plaintiff's physical

  condition, disability, pain and suffering, reasonable fear of developing future physical and medical

  problems, mental anguish, loss of enjoyment of life, feelings of economic insecurity, as well as

  lost earnings or earning capacity, and medical and hospital expenses in the past and into the future.

         28.     In accordance with S. D. Fla. Loc. R. E (1), Plaintiff reasonably estimates damages

  in the approximate amount of three hundred thousand dollars ($300,000.00) for past medical

  expenses; three hundred thousand dollars ($300,000.00) in damages for future needed medical

  expenses; four million eight hundred sixty thousand dollars ($4,860,000) in damages for lost wages

  and loss of future earning capacity; one million dollars ($1,000,000.00) in damages for past and

  future physical pain and suffering, loss of enjoyment of life, and mental and emotional pain and

  suffering; and one hundred thousand dollars ($100,000.00) in reasonable attorneys’ fees, and

  prejudgment and post-judgment interest.

         29.     Plaintiff, STOCKHOLM, has a maritime lien for maintenance and cure against the

  vessel SUR LA MER f/k/a M/Y HOM. “The duty of a shipowner to pay a seaman’s maintenance

  and cure has been viewed as creating a maritime lien of the highest priority.” Thorsteinsson v. M/V

  Drangur, 891 F.2d 1547, 1551 (11th Cir. 1990) (citations omitted).




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         30.       Plaintiff’s lien attached at the time his claim for maintenance and cure arose. “A

  maritime lien attaches and is perfected by operation of law when the claim arises.” Craddock v.

  M/Y The Golden Rule, 110 F. Supp. 3d 1267, 1276 (S.D. Fla. 2015) (citations omitted).

         31.       The Plaintiff’s lien attaches to the in rem maritime property, the M/Y HOM, until

  it is either extinguished by operation of law or executed via the in rem legal process available in

  admiralty. Id.; Minott v. M/Y Brunello, 891 F.3d 1277 (11th Cir. 2018).

         WHEREFORE, Plaintiff prays as follows:

         a. That a Warrant for Arrest in rem issue against the M/Y SUR LA MER f/k/a M/Y HOM;

         b. That all persons claiming any interest in the M/Y SUR LA MER f/k/a M/Y HOM may

               be cited to appear and answer the matters set forth herein that said vessel may be

               condemned and sold to pay the demands aforesaid and determined to be owed to

               Plaintiff;

         c. That the Maritime Lien for Plaintiff’s unpaid maintenance and cure and be declared to

               be a valid and subsisting lien against the vessel SUR LA MER f/k/a M/Y HOM,

               superior to the interest, liens or claims of any and all persons, firms or corporations

               whatsoever;

         d. That all persons, firms and corporations claiming any interest in said vessel who fail to

               properly file a claim are forever barred and foreclosed of all right or equity of

               redemption or claim of, in, or to said liened vessel;

         e. That this Court shall direct the manner in which actual notice of the commencement of

               this suit shall be given by Plaintiff to the owner, master, ranking officer or caretaker of

               said vessel, and to any persons, firms or corporations having interest therein;




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         f. That the vessel SUR LA MER f/k/a M/Y HOM, its engines, tackle, equipment, apparel,

               tender, appurtenances, etc. be condemned and sold to pay the demands aforesaid,

               together with all interest, costs, fees and expenses;

         g. That the proceeds of the sale of the subject vessel be disbursed and applied to pay the

               outstanding amounts due to Plaintiff; and,

         h. That Plaintiff be awarded any other and further relief as this Court deems just and

               proper.

                    COUNT II- IN REM ACTION FOR UNSEAWORTHINESS

         Plaintiff realleges paragraphs 1 through 24 as if stated herein in extenso and further alleges:

         32.      This action arises as an admiralty and maritime claim under the General Maritime

  Law. “General maritime law imposes duties to avoid unseaworthiness and negligence upon boats

  and vessels in navigable waters.” Ehlman v. Acme Towing, Inc., 5:05cv-111-R, 2007 WL 528657,

  *2 (W.D. Ken. Feb. 14, 2007) (citing Norfolk Shipbuilding & Drydock Corp. v. Garris, 532 U.S.

  811, 813 (2001)).

         33.      On or about July 1, 2021, while in the performance of his duties onboard the M/Y

  HOM, Plaintiff, STOCKHOLM was severely injured when he was ordered to unload heavy

  dehumidifiers from the M/Y HOM’s aft deck down to a tender.

         34.      At all times material, the vessel SUR LA MER f/k/a M/Y HOM owed a duty to

  Plaintiff to be a seaworthy vessel and to provide Plaintiff a safe place to work. Kornberg v.

  Carnival Cruise Lines, Inc., 741 F.2d 1332, 1335 (11th Cir. 1984) (“The warranty of seaworthiness

  is a term of art in the law of admiralty. The warranty imposes a form of absolute liability on a sea

  vessel. It originally applied to the carriage of cargo and was later extended to cover seamen’s




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  injuries.” (citing Mitchell v. Trawler Racer, Inc., 362 U.S. 539, 80 S. Ct. 926, 4 L. Ed. 2d 941

  (1960))).

         35.       On the above stated date, Plaintiff, STOCKHOLM, was a seaman and a member of

  the crew of the M/Y HOM, which was in navigable waters.

         36.       On the above stated date, the unseaworthiness of the M/Y HOM was a legal cause

  of injury and damage to Plaintiff STOCKHOLM by reason of the following:

         a. The vessel had an improper method of operation, including lifting heavy equipment

               without assistance by other personnel and/or equipment, which created a dangerous

               condition;

         b. The job methods and procedures were not reasonably fit for their intended purposes as

               they posed an unsafe method of operation and an unreasonable risk of injury;

         c. The vessel was shorthanded;

         d. The vessel’s crew was unfit;

         e. Plaintiff was not provided with sufficient or proper equipment or manpower to perform

               his duties;

         f. The said vessel was permitted and allowed to go upon the waters in an unsafe and

               unseaworthy condition and that such condition of said vessel and any and all damage

               and injuries were done occasioned and occurred with the privity and knowledge of the

               Defendant, its corporate officers, agents, servants or employees at or prior to the time

               of the commencement of the voyage;

         g. The vessel lacked sufficient tools, equipment, tackle, or other assistive aids or devices

               for the loading and unloading of heavy items;




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         h. The vessel failed to have a safe method of providing medical care and assistance to

               injured crewmembers;

         i. Defendant and its corporate officers, servants, agents, employees and other persons for

               whom the Defendant is responsible, failed to take suitable precautions for the Plaintiff

               under the circumstances and conditions then existing and which were within the

               knowledge of the Defendant. Said Defendant had actual and constructive notice of

               unsafe, and dangerous and unseaworthy condition; and

         j. Other acts or instances of unseaworthiness that will be proven.

         37.      Due to the unseaworthiness of the M/Y HOM, the Plaintiff suffered injury,

  disability, pain and suffering, reasonable fear of developing future physical and medical problems,

  mental anguish, loss of enjoyment of life, feelings of economic insecurity, as well as lost earnings

  or earning capacity, and medical and hospital expenses in the past and into the future.

         38.      In accordance with S. D. Fla. Loc. R. E (1), Plaintiff reasonably estimates damages

  in the approximate amount of three hundred thousand dollars ($300,000.00) for past medical

  expenses; three hundred thousand dollars ($300,000.00) in damages for future needed medical

  expenses; four million eight hundred sixty thousand dollars ($4,860,000) in damages for lost wages

  and loss of future earning capacity; one million dollars ($1,000,000.00) in damages for past and

  future physical pain and suffering, loss of enjoyment of life, and mental and emotional pain and

  suffering; and one hundred thousand dollars ($100,000.00) in reasonable attorneys’ fees, and

  prejudgment and post-judgment interest.

         WHEREFORE, Plaintiff prays as follows:

         a. That a Warrant for Arrest in rem issue against the M/Y SUR LA MER f/k/a M/Y HOM;




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        b. That all persons claiming any interest in the M/Y SUR LA MER f/k/a M/Y HOM may

           be cited to appear and answer the matters set forth herein that said vessel may be

           condemned and sold to pay the demands aforesaid and determined to be owed to

           Plaintiff;

        c. That the Maritime Lien for Plaintiff’s injuries arising from the M/Y SUR LA MER

           f/k/a M/Y HOM’s unseaworthiness be declared to be a valid and subsisting lien against

           the vessel SUR LA MER f/k/a M/Y HOM, superior to the interest, liens or claims of

           any and all persons, firms or corporations whatsoever;

        d. That all persons, firms and corporations claiming any interest in said vessel who fail to

           properly file a claim are forever barred and foreclosed of all right or equity of

           redemption or claim of, in, or to said liened vessel;

        e. That this Court shall direct the manner in which actual notice of the commencement of

           this suit shall be given by Plaintiff to the owner, master, ranking officer or caretaker of

           said vessel, and to any persons, firms or corporations having interest therein;

        f. That the vessel SUR LA MER f/k/a M/Y HOM, its engines, tackle, equipment, apparel,

           tender, appurtenances, etc., be supplementary arrested be condemned and sold to pay

           the demands aforesaid, together with all interest, costs, fees and expenses;

        g. That the proceeds of the sale of the subject vessel be disbursed and applied to pay the

           outstanding amounts due to Plaintiff; and,

        h. That Plaintiff be awarded any other and further relief as this Court deems just and

           proper.




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